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40 91 (Rev. 03/09) Criminal Complaint AUSA Janice LeClainche
UNITED STATES DISTRICT COURT
for the FILED by FIA. D.C.

Southern District of Florida

 

United States of America ) SEP 11 2010
v. ) STEVEN M. LARIMORE
REFUGIO MAGANA ) Case No, 10-8250-JMH CLERK US. DIST a
a/k/a “Guco” )
)
en _ )
Defendant(s)
CRIMINAL COMPLAINT

i, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s)of ==. September 2, 2010 ___ inthe county of — ss PaimBeach __ inthe
_. Southern. Districtof __—ss Florida. the defendant(s) violated:
Code Section Offense Description
21 USC 846 Conspiracy to possess at least 500 grams of cocaine with intent to distribute

This criminal complaint is based on these facts:
See Attached Affidavit

@ Continued on the attached sheet.

Complainant's signaiure

____ TFO Sean Meyers, DEA |

Printed name and title

Sworn to before me and signed in my presence. + Ly il fridle LIE 52

pa: ZA[~/O Steal ‘aati

City and state: West Palm Beach, Fl _U.S. Magistrate Judge James M. Hopkins
Printed name and title

 
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AREID AVIT

Your affiant, Sean Meyers, a Task : Force: Off r with the United States Drug
Enforcement Administration (DEA), United States Departinent of ‘Justice, being duly sworn,
states: : _
1. J am a deputized Task Force Officer with the United States Drug Enforcement

Administration (DEA). As such I am a a “law: enfo ement officer” of the United States

within the meaning of Title 18, United ‘States Code ection 2510(7) who is empowered

to conduct criminal investigations and 0 make arte ts for offenses enumerated in Title

18, United States Code, Section 2516,

 
  
   

2. J have been a sworn Police Officer swith the { Palm Beach Police Department

 

(WPBPD) since August 1999. I was assigned to ‘the WPBPD narcotics unit for
approximately five years before joining the ‘DEA ask Force in April 2009. I have

successfully completed the Criminal Justice Standar s and Training Police Academy and

 

am certified by the Criminal Justice Standards and: Training Commission as a Law
Enforcement Officer. : }

3. 1 have specialized training in the subject of ¢ nareoties identification, street-level drug
trafficking, surveillance, organized crime, and drug abatement techniques. I have also —

attended DEA’s Basic Narcotics investigation Sel al where J received numerous hours

   

of in-house training in search and. : seizure, I have been personally involved in

investigations concerning the possession, manufé ure, ‘and distribution of controlled

   

substances which include: cocaine, “crack” _ ‘cocaine, heroin, marijuana,

methamphetamine, and 3, 4-methylenedioxymethamphetainine (otherwise known as
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MDMA or “Ecstasy”). During the course of my ployment at the WPBPD, I have

arrested numerous individuals for various dru: olations and have spoken with
numerous drug. dealers, gang members and informants concerning the methods and
practices of drug trafficking. Through investigations d training [have become familiar
with narcotic traffickers’ methods of operation ve been involved in hundreds of
narcotics-related arrests and ] am very familiar with street terminology and how
controlled substances are packaged, sold, smuggle d transported
4. This affidavit is presented in support of ‘a cr inal ‘complaint charging Refugio

MAGANA with conspiring to possess: with inte distribute at least 500 grams of a

 

 jnixture and substance containing a. detectable amou of cocaine, in violation of Title 21,

United States Code, Sections 841(a}(1) and (b)(1)(B); all in violation of Title 21, United

 

States Code, Section 846. The information present by your affiant in this affidavit has

been obtained directly by your affiant or by oth iew enforcement officers who are
involved with this investigation. Your affiant has forth cnly the facts that your affiant
believes are necessary to establish probeble cause | |
5. During July 2010, special agents and task force off ers from the DEA West Palm Beach
Resident Office, in conjunction with investigators 4 ni the Palm Beach County Sheriff's
Office, initiated an investigation into the cocaine tnftckive activities of Jose Orozco and
his associates.
6. The investigation to dale has included the 1 use of bal surveillance and the Court-

otdered interception of Jose Orozco’s cellular telep on. ‘The telephone calls detailed as

 

 

 

 

part of this affidavit do not constitute all of the : mitercepted calls, but were selected in

order to establish probable cause to support this C : inal complaint.
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7. On August 20, 2010, the Honorable Donald M. iddlebrooks, United States District

Judge, signed an order authorizing interception of e communications of Jose Orozco’s
cellular telephone (561) 573-9767. On. or abou August 21, 2010, agents and task force

officers of the DEA West Palm Beach Resi

  
  
   
   
   
   
  
  
   
    
   
   
  
 
   
  
   
    
    
   

pit . ‘Office began a Court-ordered
interception of cellular telephone number (561 5 9767 which is a pre-paid cellular
telephone with | an unnamed subscriber and a subs iber address of 17330 Preston Road,

Dallas, Texas, and utilized by Jose Orozco. e. following characteristics of the

 

intercepted conversations are based on wire mo ‘or call summarizations and on my

training and experience to date in this and othier in tigations. Intercepted conversations

are hereafter identified by date, and | approxima : me. ‘The conversations were in

Spanish and were translated by the monitorstrans!
8. On September 2, 2010 at approximately 6:11 PM, en int intercepted an incoming call to
561-573-9767, utilized. by Jose Orozeo, from 561 36-3512, subscribed to Cell Phone at
3990 Lakewood Road, Lake Worth, Florida, and iid by Refugio MAGANA, a.k.a.
“Cuco.” During the call, MAGANA stated, “H due. ” Orozco replied, “Oh, alright
dude.” Agents believe that MAGANA told Oroze 6 that he wanted to purchase half a

kilogram of cocaine from Orozco.

pees intercepted an outgoing call to

 

9. On September.2, 2010 at approximately 6:12 PM

863-414-2062, a prepaid cellular telephone with subscriber information, and utilized
by Luis Enrique Martinez-Resendiz, a drug couri for Jose ‘Orozco, from 561-573-9767,
utilized by Jose Orozco, During the. call Oroze stated, “Oh. And that, that half, um
didn’t, didn’t get messed up? Martinez-Resendi advised, “Uh, no it’s fine.” Orozco

then stated, “Oh. Well take it to him at his-hou dude.” Agents believe that Orozco

 

 
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told Martinez-Resendiz to deliver the half-Kilogram ¢ cocaine to MAGANA at his West
Palm Beach residence. —— 2
10. A short time later, surveillance agents observed a tat feyote Camry, bearing Florida tag
ADVH66, leaving 4196 Vicliff Road, West Palm cach, Palm Beach County, in the
Southern District of Florida, and traveling to 481 Clinton ‘Boulevard, in West Palm

Beach, Palm Beach County, in the Southern Distr of Florida Agents observed Luis

 

 

 

Enrique Martinez-Resendiz and Roberto Ramitez P Pe Z,. another drug courier for Orozco,

in the Toyota Camry. Agents saw Martinez-Resendi iz Z leave the Toyota Camry and enter

 

the Clinton Boulevard residence. A few moments 1 r, | Martinez-Resendiz was observed

  

leaving the residence and getting into the Toyota Camry: Agents believe that Perez and
Martinez-Resendiz transported one-half kilogr 500 grams) of cocaine from their
Vicliff residence to MAGANA at his Clinton Boule ard residence. After the transaction,
agents followed Perez and Martinez Resend fror the Clinton Boulevard residence to
Orozco’s residence at 877 Arlington Drive i in We :
that after Perez and Martinez Resendiz detivered cb aine Sto MAGANA, they transported
the proceeds from the drug transaction to Orozc0 at e Arlington residence.
11. Based on previous intercepted telephone cal nO Orozco" s cellular telephone and
surveillance, agents have observed Jose Ore220 1 d Roberto Ramirez Perez and J.uis
Enrique Martinez-Resendiz together a1 at the Arlin i ‘eidence and have determined that
Perez and Resendiz are drug couriers 5 for Jose G iti. - Since July 2010 surveillance
agents have also obscrved Perez and Resend go: and from the Vicliff Road residence

almost every day at various times and ‘they bélievé at Perez and Resendiz were living at

 

 

 

the Vicliff residence during that time.:Based on i ite reepted calls and surveillance, agents

 

 

 
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12.

13.

14.

. his rights and agreed to speak to your affiant and

 
   
  

believe that cocaine was stored at the Aslington and \
On September 8, 2010, federal agents arrested Jose
kilograms of cocaine at his Arlington residence, The

a source of supply from Miami. The men who del:

    
  
     
   

and found to be i in possession of $100, 000 in cash.
presence of cocaine with positive results,

Based on the intercepted calls between Orozv0 an
on or about September 2, 2010, Orozco and his coufi

cocaine to MAGANA in Palm Beach County, Flori

ozo after he took delivery of four

caine was delivered to Orozco by

 

peed the cocaine were also arrested

1¢ cocaine was field tested for the

AGANA, your affiant believes that

fiers distributed 500 grams of powder

 

On September 10, 2010, law enforcement agents
MAGANA’s Clinton Boulevard residence. Ags
residence. Agents seized epproximately two ot
currency, a large cache of firearms, including rifle:

agents and transported to the DEA office in West

speaks English, was given his Miranda rights by?

that over the last three to four years, he has purch :

cocaine per week from Orozco, who i is known

  
  
  
  
    
   
  

fa as “Willie.”

ecuited a lawful search warrant at

ts: found MAGANA alone in the

 

ces. “of: cocaine, a bundle of US.
MAGANA was arrested by federal

mi Beach, Florida, MAGANA, who

0 Paniagua.. MAGANA understood

‘Scott Spruill. MAGANA admitted
aininimum of at least one ounce of

Your affiant knows

that “Willie” is a nickname often used by Orozco MAGANA said he would sometimes

   

buy a larger quantity of cocaine from Orozco bas

| Lon its availability, MAGANA has .

admitted to purchasing half- Kilogram quantities of: ocaine from Orozco. MAGANA said

that Orozco! s runners would normally deliver the caine to MAGANA.

 
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16. Based on the facts and information set forth in this affidavit, your affiant believes that
there is probable cause to believe that MAGANA conspired with others in violation of
Title 21, United States Code Section 846 (conspiracy to possess with intent to distribute
controlled substances).

Further your affiant sayeth naught.

 

Sean Meyers Trask Eoree Uffficer

U.S. Drug Enforcement Administration
Sworn and subscribed to

before me, this_//_ day
of September, 2010.

MES M. HOPKINS

UNITED STATES MAGISTRATE JUDGE

 
